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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

MODA INGLESIDE OIL TERMINAL, LLC                  §
                                                  §
                                                  §
V.                                                §            C.A. No. 2:21-CV-00039
                                                  §                 Admiralty 9(h)
M/T RIVERSIDE, its engines, tackle, etc.,         §
in rem                                            §

     OCY AQUARIUS LTD., NAT CHARTERING LTD. AND V SHIPS NORWAY AS’
                        DESIGNATION OF EXPERTS

        Pursuant to the Federal Rules of Civil Procedure, this Court’s Amended Scheduling Order,

and the agreement of the parties, OCY Aquarius Ltd. (“OCY”), on behalf of itself, and pursuant

to its Statement of Right or Interest as the registered owner of the M/T Nordic Aquarius, on behalf

of the in rem Defendant, M/T Nordic Aquarius, her engines, tackle, etc. (“Nordic Aquarius” or

“Vessel”), NAT Chartering Ltd. (“NAT”), and V. Ships Norway AS (“V. Ships”) (collectively the

“NA Interests”), file their Designation of Expert Witnesses. The NA Interests may call the

following individuals by deposition or live at trial to give testimony in this matter:




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                                           I.
                                    RETAINED EXPERTS

        NA Interests designate the following experts, each of whom has been specially retained for

litigation purposes by the NA Interests and who may be called as an expert witness to give

testimony in the form of opinions based on their education, training, background, and review of

the evidence in this matter, as well as (in some instances) on independent examination, evaluation,

and/or testing.

1.      Capt. Sam Stephenson, J.D.
        Stephenson Maritime International
        499 Thatch Palm Drive
        Boca Raton, Florida
        (954) 629-1342

        Capt. Stephenson is a Master Mariner and Senior Harbor Pilot who will provide
        expert testimony on matters including, but not limited to: the relevant transits of the
        M/T Riverside and M/T Nordic Aquarius on March 15, 2021; the actions of the pilots
        aboard the respective vessels; Master/Pilot exchanges; bridge team communications
        while under pilotage; the utilization of Pilot PPUs; the pilots’ respective duties;
        causation of the Riverside’s allision with MODA’s terminal; the various parties’
        duties and/or liabilities related to the allision at issue; proper and safe procedures
        during transit of the Corpus Christi channel; the relative fitness of the Nordic
        Aquarius and the lack of fitness of the Riverside for the operations underway at all
        relevant times; applicable rules, regulations, industry custom and practice on issues
        including, but not limited to pilotage, navigation, manning, etc.; privity and
        knowledge of relevant facts of the owners and operators of the Riverside the Safety
        Management Systems of the Nordic Aquarius and Riverside and their respective
        managers; their Bridge Organizations and Bridge Resource Management; other
        liability issues and related matters.

        Capt. Stephenson’s report dated June 13, 2022 together with his curriculum vitae,
        rate sheet, and case list are being produced with this designation as NORDIC 0712-
        0764.

        Capt. Stephenson may express additional opinions and the bases and reasons for
        those opinions at his deposition and/or in rebuttal to any additional opinions offered
        by experts of other parties within the areas of his expertise.




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2.      Pierce N. Power
        Martin, Ottaway, Van Hemmen & Dolan, Inc.
        620 Shrewsbury Avenue
        Tinton Falls, New Jersey 07701
        (732) 224-1133

        Mr. Power is a marine engineer and surveyor with Martin, Ottaway. He will provide
        expert testimony on matters including, but not limited to: the applicable standards
        for the condition of the Riverside’s main engine and associated equipment;
        appropriate maintenance, repair, and diagnostic efforts in connection with same; the
        failure of the Riverside Interests to satisfy those standards; physical damage,
        associated repairs; and related costs claimed by the Riverside Interests; the
        reasonableness and necessity of same; and related matters.

        Mr. Power’s report dated June 15, 2022 together with his curriculum vitae, case list,
        and rate sheet are being produced with this designation as NORDIC 0765-0803.

        Mr. Power may express additional opinions and the bases and reasons for those
        opinions at his deposition and/or in rebuttal to any additional opinions offered by
        experts of other parties within the areas of his expertise.

3.      Capt. Patrick L. Johnsen
        4701 Shore Lane Drive, Suite 103, Box 262
        Virginia Beach, Virginia 23455
        (443) 789-8995

        Capt. Johnsen is a global chartering expert on oil and chemical cargoes who will
        testify on the reasonable commercial and market assessment for the loss of use claim
        made by and on behalf of the M/T Riverside following the allision at issue, and related
        matters.

        Capt. Johnsen’s report dated June 14, 2022, together with his curriculum vitae, rate
        sheet and case list are being produced with this designation as NORDIC 0804-0828.

4..     Mr. William J. Thomassie, P.E.
        Infinity Engineering Consultants, LLC
        4001 Division Street
        Metairie, Louisiana 70002
        (504) 304-0548

        Mr. Thomassie is a Professional Engineer with expertise in the engineering, design,
        and construction of marine facilities. Mr. Thomassie will testify concerning the
        physical damages sustained by MODA as a result of the allision by the Riverside; the
        costs incurred in repairing and restoring MODA’s facility; the reasonableness and
        necessity of those costs; betterment; depreciation; and related matters.




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        Mr. Thomassie’s report dated June 15, 2022, together with his curriculum vitae, rate
        sheet and case list are being produced with this designation as NORDIC 0829-0849.

                                           II.
                                  NON-RETAINED EPXERTS

        NA Interests reserve the right to elicit by way of cross-examination, opinion testimony

from experts designated and called by any other party including, but not limited to: MODA

Ingleside Oil Terminal, LLC, Glory Riverside Navigation LTD, Active Denizcilik VEG EMI,

Thome Ship Management PTE LTD, and the M/T Riverside, in rem. In so stating, NA Interests

are not stipulating to the expertise and/or qualifications of any such individual and do not adopt,

agree to and/or incorporate any adverse opinion expressed by any of these individuals. NA

Interests express their intention to possibly call as witnesses associated with an adverse party, any

of the following and any other expert timely identified by another party:

1.      Jay Rivera
        Riben Marine
        14493 South Padre Island Drive
        Suite A, PMB 490
        Corpus Christi, TX 78418
        (361) 815-7388
        --Liability expert retained by MODA Ingleside Oil Terminal, LLC.

2.      Brian J. Higgins
        DMCG Project Solutions
        2450 Atlanta Highway, Suite 1201
        Cumming, Georgia 30040
        (281) 356-1238
        --Marine Engineer retained by MODA Ingleside Oil Terminal, LLC.

3.      Malcolm McLaren
        Steven A. Famularo, PE, D.PE
        McLaren Engineering Group
        530 Chestnut Ridge Rd
        Woodcliff Lake, New Jersey 07677
        (201) 775-6000
        --Damages experts retained by MODA Ingleside Oil Terminal, LLC.




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4.      Timothy Horne
        5 Danvers Road
        London, United Kingdom
        N8 7HH
        +44 7487 523 903
        --Loss of hire expert retained by the Riverside Interests.

5.      Prentice (Skip) Strong III
        Independent Maritime Consulting LLC
        2425 Post Rd. (Suite 101)
        Southport, Connecticut 06890
        (203) 256-1000
        --Liability expert retained by the Riverside Interests.

6.      John Poulson
        Poulson Marine Consultants,
        998C Old Country Road, No. 183
        Plainview, New York 11803
        (516) 481-5840
        --Damages expert retained by the Riverside Interests.

                                                III.

        The following individuals have been identified as fact witnesses. They have not been

specially retained by NA Interests. NA Interests reserve the right to call the following individuals

and/or representatives and/or custodian of records of the indicated businesses as experts to give

evidence in the form of opinions within the scope of their respective expertise:

 1.     Georgy Ustyuzhanin, Master
        Igor Petrov, Chief Officer
        Officers and crew of the M/T Nordic Aquarius
        c/o SBSB - Eastham
        1001 McKinney, Suite 1400
        Houston, Texas 77002
        (713) 225-0905
        --These officers and crew comprised part of the Bridge Team of the Nordic Aquarius.
        They will have knowledge of their undocking from MODA Terminal, their outbound
        transit in the Corpus Christi Channel, communications with the pilots, the transit of the
        Riverside on March 15, 2021, and related issues.




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 2.     Capt. Cory Fontenot
        Capt. Earl “Trip” Webb, III
        c/o James T. Brown
        Holman Fenwick Willan USA LLP
        5151 San Felipe, Suite 400
        Houston, Texas 77056
        (713) 917-0888
        --Capt. Fontenot was the conning pilot of the Nordic Aquarius and Capt. Webb the non-
        conning pilot at the time of the Riverside’s allision with MODA Terminal. They will
        have knowledge of the transits at issue; communications with the pilots of the Riverside;
        the unmooring and getting underway of the Nordic Aquarius; speed restrictions in the
        area; pilotage issues; custom and practice of the Aransas-Corpus Christi Pilots; and
        related issues.

                                               IV.

        The following individuals have also been identified as fact witnesses. They have not been

specially retained by NA Interests, and NA Interests are not stipulating to the expertise and/or

qualifications of any such individual and do not hereby adopt, agree to and/or incorporate any

adverse opinion expressed by any of these individuals. NA Interests reserve the right to call the

following individuals and/or representatives and/or custodian of records of the indicated

businesses as experts to give evidence in the form of opinions within the scope of his expertise:

1.      Capt. Justin Anderson
        c/o James T. Brown
        Holman Fenwick Willan USA LLP
        5151 San Felipe, Suite 400
        Houston, Texas 77056
        (713) 917-0888
        --Capt. Anderson was the conning pilot of the Riverside at the time of the Riverside’s
        allision with MODA Terminal. He will have knowledge of the transits at issue;
        communications with the pilots of the Nordic Aquarius; speed restrictions in the area;
        pilotage issues; custom and practice of the Aransas-Corpus Christi Pilots; the failure of
        the Riverside’s Master to communicate critical information related to the Riverside’s
        engines and machinery; and related issues.




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2.      Capt. Ben Watson
        c/o Paxton Crew
        The Crew Law Firm
        303 East Main Street, Suite 260
        League City, Texas 77573
        (409) 204-0050
        --Capt. Watson was the non-conning pilot of the Riverside at the time of the Riverside’s
        allision with MODA Terminal. He will have knowledge of the transits at issue;
        communications with the pilots of the Nordic Aquarius; speed restrictions in the area;
        pilotage issues; custom and practice of the Aransas-Corpus Christi Pilots; the failure of
        the Riverside’s Master to communicate critical information related to the Riverside’s
        engines and machinery; and related issues.

3.      Employees and/or corporate representatives and
        Custodian of Records of
        Active Denizcilik VE GEMI
        c/o Dabney W. Pettus
        Welder Leshin Lorenz McNiff Buchanan Hawn, LLP
        800 North Shoreline Blvd., Suite 300, North Tower
        Corpus Christi, Texas 78401
        (361) 561 8000
        --Active Denizcilik VE GEMI is a Defendant/Third Party Plaintiff.

4.      Employees and/or corporate representatives and
        Custodian of Records of
        Glory Riverside Navigation LTD
        c/o Dabney W. Pettus
        Welder Leshin Lorenz McNiff Buchanan Hawn, LLP
        800 North Shoreline Blvd., Suite 300, North Tower
        Corpus Christi, Texas 78401
        (361) 561 8000
        --Glory Riverside is a Defendant/Third Party Plaintiff.

5.      Yashpal Chahar, Master
        Konstantin Timchenko, Chief Officer
        Lloyd Vijayanand D. Almeida, Chief Engineer
        Orlando Mazo Angelo - AB
        Ronnel Remotin Dela Cruz - AB
        Lawrence Boholst Angeles - AB
        Other officers, crew, corporate representatives and
        Custodian of Records of
        Thome Ship Management PTE LTD
        c/o Dabney W. Pettus
        Welder Leshin Lorenz McNiff Buchanan Hawn, LLP
        800 North Shoreline Blvd., Suite 300, North Tower
        Corpus Christi, Texas 78401



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        (361) 561 8000
        --These are officers and crew of the M/T Riverside, employed by Thome, who is a
        Defendant/Third Party Plaintiff.

6.      Jeremy Cannon
        Preston Bailey
        Kevin Campbell
        Robert Luna
        Other representatives and
        Custodian of Records of
        MODA Ingleside Oil Terminal LLC n/k/a Enbridge
        c/o Jack C. Partridge
        Royston, Rayzor, Vickery & Williams, LLP
        1300 Frost Bank Plaza
        802 N. Carancahua
        Corpus Christi, Texas 78470
        (361) 884 8808
        --Plaintiff.

7.      Employees and/or corporate representatives of
        Aransas-Corpus Christi Pilots
        743 Channel View Drive
        Port Aransas, Texas 78373
        (361) 749-5444
        --Local pilots with knowledge of custom and practice related to transiting the Corpus
        Christi Channel.

8.      Aransas-Corpus Christi Pilot Board
        743 Channel View Drive
        Port Aransas, Texas 78373
        (361) 749-5444
        --Investigated the Riverside’s allision with MODA Terminal.

9.      Representatives of the
        National Transportation Safety Board
        490 L’Enfant Plaza SW
        Washington, D.C. 20594
        (800) 877-6799
        --Investigated the Riverside’s allision with MODA Terminal and prepared a report dated
        March 16, 2022.

10.     Investigators with
        U.S. Coast Guard Sector Corpus Christi
        249 Glasson Drive
        Corpus Christi, Texas 78406
        (361) 939-0200



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        --Assisted NTSB investigation of the Riverside’s allision with MODA Terminal.

11.     HaoBing Yu
        Paulo Cesar Brito
        Det Norske Veritas
        1400 Ravello Dr.
        Katy, TX 77449
        (281) 396-1000
        --Class surveyors for the Riverside.

12.     Joseph Jude
        MAN Energy Solutions - USA
        1758 Twinwood Parkway
        Brookshire, TX 77423
        (713) 780-4200
        --Engine superintendent for the Riverside.

13.     Rawi Rawat
        Houston Ship Repairs
        8303 Millet Street
        Houston, Texas 77012
        --Engine technician for Riverside.

14.     Capt. Syed Ali
        3D Marine USA, Inc.
        12411 Donna Lane
        Houston, Texas 77067
        (281) 444-9495
        --Surveyor for Riverside’s time charterer.

15.     Maricot Inc.
        P.O. Box 4402
        Corpus Christi, TX 78469
        (361) 960-1931
        --Surveyor for Plaintiff.

16.     Employees and/or corporate representatives of
        OCY Aquarius Ltd.
        c/o James T. Bailey
        SBSB – Eastham
        1001 McKinney, Suite 1400
        Houston, Texas 77002
        (713) 225-0905
        --Registered Owner/Vessel Claimant of the M/T Nordic Aquarius.




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17.     Employees and/or corporate representatives of
        NAT Chartering Ltd
        c/o James T. Bailey
        SBSB – Eastham
        1001 McKinney, Suite 1400
        Houston, Texas 77002
        (713) 225-0905
        --Bareboat charterer / commercial operator of M/T Nordic Aquarius.

18.     Employees and/or corporate representatives of
        V. Ships Norway AS
        c/o James T. Bailey
        SBSB – Eastham
        1001 McKinney, Suite 1400
        Houston, Texas 77002
        (713) 225-0905
        --Technical Manager / Crewing for the M/T Nordic Aquarius.

19.     Sean Strawbridge
        Francis Michael (“Mike”) Kershaw
        Clark Robertson
        Employees and/or Consultants and/or corporate representatives of
        Port of Corpus Christi Authority
        222 Power Street
        Corpus Christi, Texas 78401
        (361) 882 5633
        --Safety and navigational concerns presented by deep draft ship traffic transiting in the
        vicinity of Ingleside; ongoing safety issues with the dock facility operated by MODA and
        its predecessors.

20.     Russell Cordo
        Employees and/or consultants and/or corporate representatives of
        The Harbormaster’s Office
        Port of Corpus Christi Authority
        222 Power Street
        Corpus Christi, Texas 78401
        (361) 882 5633
        --Harbormaster; Assists with vessel traffic monitoring and responded to the incident in
        question.

21.     Officers and crew of the Signet Honour
        c/o Signet Maritime Corporation
        1300 Post Oak Boulevard, Suite 600
        Houston, Texas 77056
        (713) 840 1100




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        --Knowledge and expertise concerning docking and undocking deep draft ships at
        MODA; assisted with undocking of M/T Nordic Aquarius; aided the navigation of the
        M/T Riverside.

22.     J. Barry Snyder
        Gayle Snyder
        Employees and/or consultants and/or corporate representatives of
        Signet Maritime Corporation
        1300 Post Oak Boulevard, Suite 600
        Houston, Texas 77056
        (713) 840 1100
        --Knowledge and expertise regarding safety issues presented at the “Moda intersection”
        including the need for assist tugs and specific knowledge concerning the “accident at
        Moda with M/T Riverside.”

23.     Patrick Darjon
        Independent Maritime Consulting LLC
        (281) 678-7642
        --Consultant appointed by Riverside Interests to attend the MODA facility and conduct
        a damage survey.

24.     Okan Erkirtay
        Erlap Ceylan
        Other employees and representatives of
        Vitsan A.S.
        --Marine surveyor appointed on behalf of M/T Nordic Aquarius Interests to attend the
        M/T Riverside at the Sefine Shipyard in Yalova, Turkey.

                                                V.

        NA Interests reserve the right to supplement this designation with additional designations

of experts within the time limits imposed by the Court or any alterations of same by subsequent

Court Order or agreement of the parties, or pursuant to the Federal Rules of Civil Procedure.

                                               VI.

        NA Interests reserve the right to elicit, by way of cross-examination, opinion testimony

from experts timely designated and called by any other party to the suit.




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                                                  VII.

        NA Interests reserve the right to call undesignated rebuttal expert witnesses whose expert

testimony cannot be reasonably foreseen until the presentation of the evidence.

                                                 VIII.

        NA Interests reserve the right to withdraw the designation of any expert and to aver

positively that any such previously designated expert will not be called as a witness at trial, and to

redesignate same as a consulting expert, who cannot be called by opposing counsel.

                                                  IX.

        NA Interests reserve the right to elicit any expert opinion or lay opinion testimony at the

time of trial which would be truthful, which would be of benefit to the Court to determine material

issues of fact, and which would not violate any existing Court Order or the Federal Rules of Civil

Procedure.

                                                   X.

        NA Interests designate as adverse parties, potentially adverse parties, and/or as witnesses

associated with adverse parties, all other parties to this suit and all experts designated by any party

to this suit, even if the designating party is not a party to the suit at the time of trial. In the event

a present or future party designates an expert but then is dismissed for any reason from the suit or

fails to call any designated expert, NA Interests reserve the right to designate and/or call any such

party or any such experts previously designated by any party.

                                                  XI.

        NA Interests reserve whatever additional rights they may have with regard to experts,

pursuant to the Federal Rules of Civil Procedure, the case law construing same, and the rulings of

the Court.




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                                              Respectfully submitted,

                                              /s/ James T. Bailey
                                              Robert L. Klawetter
                                              Federal I.D. 2471
                                              State Bar No. 11554700
                                              rklawetter@sbsb-eastham.com
                                              James T. Bailey
                                              Federal I.D. 30347
                                              State Bar No. 24031711
                                              jbailey@sbsb-eastham.com
                                              1001 McKinney Street, Suite 1400
                                              Houston, Texas 77002
                                              Telephone: (713) 225-0905
                                              Facsimile: (713) 574-2942

                                              Attorneys for Nordic Aquarius Interests

OF COUNSEL:

SCHOUEST, BAMDAS, SOSHEA, BENMAIER & EASTHAM PLLC



                                CERTIFICATE OF SERVICE

       I certify that I filed the foregoing Designation of Experts on June 15, 2022, electronically,
and that a true and correct copy of the foregoing will be served on counsel of record via the
Electronic Case Filing System of the United States District Court for the Southern District of
Texas, Galveston Division.

Via Electronic Filing System                      Via Electronic Filing System
John C. Partridge                                 Dabney W. Pettus
Royston, Rayzor, Vickery & Williams, LLP          Welder Leshin LLP
802 N. Carancahua, Suite 1300                     800 N Shoreline Blvd., Suite 300 N
Corpus Christi, Texas 78401                       Corpus Christi, Texas 78401



                                                           /s/ James T. Bailey
                                                               James T. Bailey




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